      Case: 1:21-cv-00163-GHD-RP Doc #: 30 Filed: 11/30/21 1 of 2 PageID #: 758




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                         ABERDEEN DIVISION

T. KEITH HOLLIS, PH.D.,
DENNIS W. SMITH, JR. PH.D.
RANDALL LITTLE, PH. D.
TIMOTHY BODEN,
AND

MARK MURPHY

       Plaintiffs,

vs.                                           Civil Action No. 1:21-cv-00163-GHD-RP

JOSEPH R. BIDEN, JR.,
in his official capacity as
President of the United States of
America; et al.

       Defendants.


ALL PLAINTIFFS’ NOTICE OF APPEAL TO THE FIFTH CIRCUIT COURT
   OF APPEALS FROM THE DISTRICT COURT’S ORDER DENYING
    PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION AND
          DISMISSING ACTION FOR LACK OF STANDING


       NOTICE is hereby given, pursuant to Federal Rule of Appellate Procedure 4,

that all Plaintiffs in the above-captioned proceeding hereby file this Notice of Appeal

to the United States Court of Appeals for the Fifth Circuit from the Order Denying

Plaintiffs’ Motion for Preliminary Injunction and Dismissing Action for Lack

of Standing (Doc. 28) of the United States District Court for the Northern District

of Mississippi, said Order having been entered on November 23, 2021.



                                          1
    Case: 1:21-cv-00163-GHD-RP Doc #: 30 Filed: 11/30/21 2 of 2 PageID #: 759




      Respectfully submitted on this the 30th day of November 2021,


                                                /s/ Matthew D. Wilson
                                        By:
                                              Matthew Wilson (MS 102344)
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                                              Mississippi State, MS 39762
                                              T: (662) 312-5039
                                              starkvillelawyer@gmail.com
                                              ATTORNEY FOR THE PLAINTIFFS



                          CERTIFICATE OF SERVICE

      I, Matthew D. Wilson, attorney of record for the Plaintiff, do hereby certify that

I have this day, November 30, 2021, caused a true and correct copy of the above and

foregoing Notice of Appeal to be delivered by the ECF Filing System, which gave

notice to all counsel of record who have appeared herein:

      The Hon. Charles Winfield                     The Hon. Kristin A. Taylor
      — cwinfield@winfieldlawfirm.com               — kristin.a.taylor@usdoj.gov

      The Hon. Joan L. Lucas                        The Hon. Samuel David Wright
      — jlucas@legal.msstate.edu                    — samuel.wright@usdoj.gov

      The Hon. Kevin J. Wynosky                    The Hon. Stuart Davis
      — kevin.j.wynosky@usdoj.gov                  — stuart.davis@usdoj.gov

                                                    The Hon. Vinita B. Andrapalliyal
                                                    — vinita.b.andrapalliyal@usdoj.gov

      Respectfully submitted on this the 30th day of November 2021,


                                                /s/ Matthew D. Wilson




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